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U.S. Department of Justice

Antitrust Division

Ashley Kaplan
450 Sth St., NW, Suite 7000
Washington, DC 20530

June 20, 2023

BY E-MAIL

Jeffrey Blum Mark Nelson

DISH Network T-Mobile USA, Inc.

Jeffrey. Blum@DISH.com Mark.Nelson@t-mobile.com

Re: — United States v. Deutsche Telekom, et al., No. 19-cv-2232 (D.D.C.)
Dear Mr. Blum and Mr. Nelson:

We are aware that DISH and T-Mobile have expressed differing views on the
interpretation of Section XVI.D of the Final Judgment as it pertains to whether the
Division must consent to the termination of the parties’ July 1, 2020 License Purchase
Agreement. We would like to invite you to submit your respective positions on this issue
to the Division so that we may fully consider both parties’ views. We request that each
party submit their position in writing to the Division on this issue no later than
Wednesday, June 28, 2023 at 5 p.m. ET.

We believe that this schedule should allow sufficient time for the parties to

express their views while facilitating prompt resolution of this issue. Please contact me if
you have any questions about this request.

Sincerely,

S/ Ashley Kaplan
Ashley Kaplan

